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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

WILLIAM WILBER, ET AL. Case No.: t:14-me-00095-P1
Plaintiils, STIPULATION AND ORDER TO
v. VACATE AND DISMISS AS TO

METAQUOTES SOFTWARE CORP.
TOP GLOBAL CAPITAL INC., ETAL., | ONLY PURSUANT TO SETTLEMENT

Defendants.

 

 

WHEREAS, Plaintiffs filed the above-referenced action on April 1, 2014 to
register a foreign Judgment against MetaQuotes Software Corp., resulting from the Default
Judgment entered against MetaQuotes in the Federal District Court, Central District of
California, Case Number SACV 12-1448 AG (PRX); and

WHEREAS, none of the parties to the above-referenced action is an infant or
mcompetent person; and

WHEREAS, Plaintiffs and MetaQuotes Software Corp. have reached a
settlement in the matter filed in the Federal District Court, Central District of California,
Case Number SACV 12-1448 AG (IPRX), which requires the dismissal with prejudice of
MetaQuotes Software Corp. only from the above-referenced action; and

WHEREAS, an Order was entered on February 2, 2016 in the Federal
District Court, Central District of California, Case Number SACV 12-1448 AG (JPRX)
dismissing MctaQuotes Software Corp. only, attached as Exhibit A, with prejudice, and
pursuant to the terms of the Settlement Agreement, attached as Exhibit B; now, therefore

ITIS HEREBY STIPULATED AND AGREED, by and between Plainuffs
William Wilber, Nicole Kharzi, Karen Oldmixon, Larry Cain, Robyn Jamison, Owo Fox,

Gail Young, Mark Thomas, Cindy DiCosimo, Carol Winkler and David Winder
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(“Plaintiffs”) and Defendant MetaQuotes Software Corp. (collectively ‘the Parties”), by and
through their counsel that:

1, The Parties hereby agree that the Default Judgment entered against
MetaQuotes Software Corp. by the Central District of California has been set aside and
vacated.

2. The Parties hereby agree that the foreign Judgment registered by
Plaintiffs on April 1, 2014 in the above-captioned action is vacated as against MetaQuotes
Software Corp. only.

3. The Parties hereby agree that the above-captioned action is dismissed
with prejudice as to MetaQuotes Software Corp, only, pursuant to FRCP 41(a).

4, This Stipulation and Order to Vacate and Dismiss embodies the entire
Settlement Agreement of the Parties as filed in the Federal District Court, Central District of

California Case No. SACV12-1448 AG (PRX).

 

 

 

Dated: February-4, 2016 Dated: Februarye’+, 2016
PHILLIPS LYTLE LLP COZEN O'CONNOR

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Robert V. Cornish, Jr: eee 2 iat , a “fuson B. Bonk

800 17th Street, NW, Suite 450. WP" UIT Rave Avenue
Washington, D.C. 20006 Sree New York, New York [0172
Tel.: (202) 617-2700 Tel.: (212) 883-4900
Attorneys for Plaintiffs Attorneys for MetaQuotes Sofiware Corp.
SO ORDE on
Dated: 2 iG

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United States District Judge ye

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